
Freeman, J.,
delivered the opinion of the court.
This is an action of trespass, for allowing stock of defendant’s to go into his own field, by which they entered the field of complainant, enclosed by same outside fence, but no dividing fence between the land of the parties thus enclosed.
The only objection, necessary to be specially noticed here, to the action of the court below, is in refusing to allow defendant to prove by his own testimony the terms of the contract between the parties, that had’ been spoken of by another witness, the plaintiff having died pending the suit, and the case revived in the name of his administrator, the contract having been made between defendant and a son of *682plaintiff, the witness not proposing to prove any statements made by the intestate.
There was no error in this. It was clearly a transaction with the deceased plaintiff by and through, his agent. The propositions asked to be charged by the court were not involved in the case. It was no* error, therefore, not to charge them. The verdict is. well sustained by the proof. Affirm the judgment.
